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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


SOUTHWESTERN PAYROLL SERVICE, INC.,

                                 Plaintiff,


                   and

NATIONAL PAYMENT CORPORATION,

                          Intervenor-Plaintiff,

                   v.                                            1:19-CV-1349
                                                                  (FJS/CFH)
PIONEER BANCORP, INC.; PIONEER BANK;
MICHAEL T. MANN; VALUEWISE CORPORATION,
d/b/a Apogee, d/b/a Optix Consulting, d/b/a Primary Search
Group; MYPAYROLLHR.COM, LLC; CLOUD PAYROLL,
LLC; ROSS PERSONNEL CONSULTANTS, INC.;
ALWAYS LIVE HOLDINGS, LLC; KANINGO, LLC;
HIRE FLUX, LLC; HIRE FLUX HOLDINGS, LLC;
VIVERANT LLC; and HEUTMAKER BUSINESS
ADVISORS, LLC,

                                 Defendants.


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SCULLIN, Senior Judge


                        MEMORANDUM-DECISION AND ORDER

                                     I. INTRODUCTION

       Pending before the Court are Plaintiff Southwestern Payroll Service, Inc.'s

("Southwestern Payroll") and Intervenor-Plaintiff National Payment Corporation's ("NatPay,"

collectively referred to with Southwestern Payroll as "Plaintiffs") appeals of Magistrate Judge

Hummel's September 12, 2022 Memorandum-Decision and Order, in which he denied

Southwestern Payroll's motion for leave to amend its Second Amended Complaint in its entirety

and denied in part NatPay's motion for leave to amend its Intervenor Complaint. See Dkt. Nos.

199, 200.


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                                      II. BACKGROUND

       Southwestern Payroll commenced this action on October 31, 2019, in an effort to,

among other things, hold Defendants Pioneer Bancorp, Inc. and Pioneer Bank (collectively

referred to as the single entity, "Defendant Pioneer") responsible for allegedly improperly

withholding money allocated to pay federal and state payroll taxes and failing to remit those

funds to the appropriate taxing authorities. See Dkt. No. 1, Compl. NatPay joined this action as

an Intervenor Plaintiff and filed its complaint on August 18, 2020. See Dkt. No. 78.

       Southwestern Payroll subsequently amended its complaint twice. See Dkt. Nos. 25, 72.

In its Second Amended Complaint ("SAC"), it alleged that it provided payroll processing

services to employer-clients, and those services included collecting, processing, and remitting

an employer-client's withheld payroll taxes to the appropriate taxing authorities in an accurate

and timely fashion. See Dkt. No. 72, SAC, at ¶ 20. According to Southwestern Payroll,

convicted fraudster Defendant Michael Mann owned or controlled several payroll and related

companies, including Defendants Valuewise, MyPayrollHR, Cloud Payroll, Ross, Always Live,

Kaningo, Hire Flux, Hire Flux Holdings, Viverant, and Heutmaker, which had accounts with

Defendant Pioneer (hereinafter collectively referred to as the "Mann Entity Accounts"). See id.

at ¶ 15. Defendant Cloud Payroll eventually purchased a majority interest in Southwestern

Payroll; and, at that time, Southwestern Payroll began housing its clients' tax funds with

Defendant Pioneer. See id. at ¶ 25. Southwestern Payroll further alleged that, after those funds

were withdrawn from the employer-clients' bank accounts, NatPay, an Automated Clearing

House ("ACH") service provider, would transfer the funds to other accounts located at other

banks. See id. at ¶ 27. Ultimately, NatPay would transfer the funds back to Defendant Pioneer

and into two so-called "tax accounts," ending in 2440 and 0212 and belonging to Defendants


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Cloud Payroll and MyPayrollHR, respectively, where the funds would remain until they were

due to a particular taxing authority. See id.; Dkt. No. 153-3, Southwestern Payroll's Prop. Third

Amend. Compl., at ¶¶ 33, 35, 87.

       Plaintiffs sought to further expound upon these allegations in their most recent proposed

amended complaints. On October 8, 2021, Southwestern Payroll filed a motion for leave to

amend its SAC, and NatPay filed a motion for leave to amend its Intervenor Complaint. See

Dkt. Nos. 153, 155. In the most recent iterations of Plaintiffs' allegations, they generally

contend that Defendant Pioneer aided Defendant Mann in transferring "billions" in funds from

the 2440 and 0212 tax accounts into other accounts Defendant Mann had with Defendant

Pioneer to cover overdrafts in those other accounts. See Dkt. No. 153-3 at ¶¶ 39-42; Dkt. No.

155-3, NatPay's Prop. Amend. Intervenor Compl., at ¶¶ 14-20. Plaintiffs additionally allege

that, after learning that Defendant Mann had engaged in fraudulent conduct, Defendant Pioneer

froze all outgoing transactions from the 2440 and 0212 accounts from August 30, 2019 through

September 4, 2019, but did not freeze any incoming deposits. See Dkt. No. 153-3 at ¶¶ 51-65;

Dkt. No. 155-3 at ¶¶ 29-43. NatPay alleges that it incurred $3.8 million in damages as a result

of Defendant Pioneer's selectively accepting deposits but rejecting withdrawals through its

ACH tax wiring service during that time. See Dkt. No. 155-3 at ¶¶ 46-50. Southwestern

Payroll also alleges that, because of the freeze, Defendant Pioneer transferred and ultimately

withheld $9,809,967.08 in allocated tax funds from the 2440 tax account that were never

remitted to the appropriate taxing authorities or returned to the original depositors. See Dkt.

No. 153-3 at ¶¶ 26, 388, 395. Plaintiffs allege that Defendant Pioneer erroneously withheld and

transferred those funds after it learned of Defendant Mann's fraud so that it could repay itself for

loans – including a $42 million loan to Defendant Valuewise (hereinafter referred to as the


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"Valuewise Loan") – that it made to Defendant Mann and his various businesses. See id. at

¶¶ 58-65; Dkt. No. 155-3 at ¶ 3.

        In addition to various factual allegations not previously asserted in its SAC,

Southwestern Payroll sought to add Granite Solutions Groupe, Inc. ("Granite Solutions") – one

of the employer-clients whose payroll taxes were not remitted to the appropriate authorities – as

a plaintiff in this action in its Proposed Third Amended Complaint ("PTAC"). 1 See generally

Dkt. No. 153-3. Southwestern Payroll also sought to include various factual allegations not

previously asserted and to add causes of action for simple negligence, unjust enrichment,

violations of the Racketeer Influenced & Corrupt Organizations ("RICO") Act, 18 U.S.C.

§ 1962(c), and aiding and abetting conversion and fraud. See generally id. NatPay sought to

include substantially the same factual allegations not previously asserted and to add or amend

the same causes of action as Southwestern Payroll in its Proposed Amended Complaint

("PAC"). See generally, Dkt. No. 155-3, PAC.

        Defendant Pioneer opposed both motions. See Dkt. No. 160. Magistrate Judge Hummel

then permitted Plaintiffs to file a joint brief in reply and in further support of their motions for

leave to amend their proposed amended complaints (jointly referred to as Plaintiffs' "PACs")

and Defendant Pioneer to respond with a sur-reply. See Dkt. No. 163. Notably, in their joint

reply brief, Plaintiffs additionally requested that, "[t]o the extent the Court finds that Plaintiffs'



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 While these motions were pending, Granite Solutions commenced an action against Defendant
Pioneer – in addition to the other Defendants in the Southwestern Payroll action – in this Court
on August 15, 2022, "to preserve its claims under any applicable statute of limitations." See
Granite Solutions Groupe, Inc. v. Pioneer Bancorp, Inc., No. 1:22-CV-0842 (FJS/CFH), Dkt.
No. 1 at n.1. Granite Solutions explicitly noted in its complaint that, should the Court grant
Southwestern Payroll's motion for leave to file its Third Amended Complaint in Southwestern
Payroll Serv., Inc. v. Pioneer Bancorp, Inc., 19-CV-1349, Granite Solutions would dismiss its
case without prejudice. See id. Alternatively, if the Court denied Southwestern Payroll's
motion, Granite Solutions stated that it would move to consolidate the two cases. See id.
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claims lack specificity in any regard, Plaintiffs can promptly cure any issues and respectfully

request that the Court permit Plaintiffs leave to do so." See Dkt. No. 164 at 8 n.5.

       On September 12, 2022, Magistrate Judge Hummel issued a Memorandum-Decision and

Order, in which he denied Southwestern Payroll's motion to amend its SAC in its entirety,

granted NatPay's motion to amend its Intervenor Complaint "to the limited extent that NatPay is

permitted to amend its claim for Unjust Enrichment," and otherwise denied NatPay's motion.

See Dkt. No. 197, Sept. 12, 2022 Memorandum-Decision and Order, at 43. Magistrate Judge

Hummel also denied Plaintiffs' request, as indicated in their joint reply, for further opportunity

to amend their respective complaints. See id. Plaintiffs have appealed Magistrate Judge

Hummel's Memorandum-Decision and Order, and those appeals are pending before this Court.

See Dkt. Nos. 199, 200.



                                        III. DISCUSSION

   A. Standard of review

       "When reviewing an appeal from a pretrial non-dispositive motion decided by a

magistrate judge, the court will affirm the order unless it is clearly erroneous or contrary to

law." Jones v. Smith, No. 9:09-cv-1058 (GLS/ATB), 2015 U.S. Dist. LEXIS 131974, *4

(N.D.N.Y. Sept. 30, 2015) (Sharpe, J.) (citing 28 U.S.C. § 636(b)(1)(A); Fed. R. Civ. P. 72(a)).

"Courts have generally held that motions to amend a complaint are non-dispositive." Id. (citing

Rubin v. Valicenti Advisory Servs., Inc., 471 F. Supp. 2d 329, 333 (W.D.N.Y. 2007)). "Under a

clearly erroneous standard, a district court can reverse a magistrate judge's order only if the

court '"is left with the definite and firm conviction that a mistake has been committed."'" Id.

(quoting Gualandi v. Adams, 385 F.3d 236, 240 (2d Cir. 2004) (quoting United States v. U.S.


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Gypsum Co., 333 U.S. 364, 395, 68 S. Ct. 525, 92 L. Ed. 746 (1948))). "'[M]agistrate judges

are afforded broad discretion in resolving non-dispositive disputes and reversal is appropriate

only if their discretion is abused.'" Id. (quoting Am. Stock Exch., LLC v. Mopex, Inc., 215

F.R.D. 87, 90 (S.D.N.Y. 2002)).



   B. Southwestern Payroll's motion for leave to amend its SAC to add Granite Solutions
      as a plaintiff

       Rule 15(a)(2) of the Federal Rules of Civil Procedure provides that the Court "should

freely give leave [to amend] when justice so requires." Fed. R. Civ. P. 15(a)(2). Generally, a

court "has discretion to deny leave for good reason, including futility, bad faith, undue delay, or

undue prejudice to the opposing party." McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184,

200 (2d Cir. 2007) (citing Foman v. Davis, 371 U.S. 178, 182, 83 S. Ct. 227, 9 L. Ed. 2d 222

(1962)). The Second Circuit has held, however, where a scheduling order governs amendments

to a complaint, "'the lenient standard under Rule 15(a) . . . must be balanced against the

requirement under Rule 16(b) that the Court's scheduling order "shall not be modified except

upon a showing of good cause."'" Holmes v. Grubman, 568 F.3d 329, 334-35 (2d Cir. 2009)

(quoting Grochowski v. Phoenix Constr., 318 F.3d 80, 86 (2003) (quoting older versions of

Federal Rules of Civil Procedure 15(a), 16(b))). "Whether good cause exists turns on the

'diligence of the moving party.'" Id. at 335 (quotation omitted); see also Parker v. Columbia

Pictures Indus., 204 F.3d 326, 340 (2d Cir. 2000). Although the moving party's diligence is

"the primary consideration," it is not "the only consideration." Kassner v. 2nd Ave.

Delicatessen, Inc., 496 F.3d 229, 244 (2d Cir. 2007). "The district court, in the exercise of its

discretion under Rule 16(b), also may consider other relevant factors including, in particular,

whether allowing the amendment of the pleading at this stage of the litigation will prejudice

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defendants." Id. "Accordingly, the 'good cause' standard of diligence applies, together with

considerations of futility, bad faith, and prejudice." Farsura v. QC Terme United States Corp.,

No. 21-CV-9030 (AT) (RWL), 2022 U.S. Dist. LEXIS 210833, *6 (S.D.N.Y. Nov. 21, 2022)

(citation omitted).

       In his Memorandum-Decision and Order, Magistrate Judge Hummel found that

Southwestern Payroll did not demonstrate good cause for seeking to add Granite Solutions as a

plaintiff in this action because Southwestern Payroll did not demonstrate its own diligence in

seeking to join Granite Solutions as a plaintiff before December 18, 2020. See Dkt. No. 197 at

16. Southwestern Payroll contends that it showed good cause to amend its SAC to add Granite

Solutions as a plaintiff in this action, and Magistrate Judge Hummel's finding to the contrary

"ignored the circumstances of this case." See Dkt. No. 199-2 at 13.

       To show good cause, Southwestern Payroll points to the fact that Granite Solutions's

payroll company, MyPayrollHR, went out of business "after [Defendant] Pioneer converted the

payroll tax money." See id. Southwestern Payroll asserts that, over the next year, Granite

Solutions communicated with the IRS and began an investigation to learn why its tax liabilities

were not received, and it eventually learned that Defendant Pioneer wrongfully claimed

entitlement to its tax trust funds. See id. Southwestern Payroll argues that Granite Solutions

did not have a payroll company to fight Defendant Pioneer on its behalf; but, after learning

about this case, Granite Solutions contacted Southwestern Payroll's counsel for assistance. See

id. at 13-14. Southwestern Payroll points to various affidavits from Granite Solutions's CEO,

Mr. L'Abbe, which detail the timeline of when Granite Solutions learned of Defendant Pioneer's

involvement and wrongdoing, and Granite Solutions's efforts to obtain counsel to pursue its

claims. See id. at 14. Granite Solutions ultimately retained Southwestern Payroll's counsel on


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June 25, 2021, and Southwestern Payroll presented the PTAC to Defendant Pioneer

approximately two months later, on August 27, 2021. See id. Southwestern Payroll then filed

its motion for leave to amend its SAC to add Granite Solutions as a plaintiff on October 8,

2021. See Dkt. No. 15.

       Southwestern Payroll further contends that adding Granite Solutions was not something

it knew or should have known or anticipated before the December 18, 2020 deadline to amend

the pleadings as set forth in the scheduling order. See id. According to Southwestern Payroll, it

was not "actively searching for companies affected by [Defendant] Pioneer's conduct to include

in this case." See id. Southwestern Payroll argues that its diligence was thus dependent upon

Granite Solutions's diligence in its own investigation. See id.

       This Court agrees with Magistrate Judge Hummel that Southwestern Payroll was

required to show its own due diligence, not Granite Solutions's, in its motion for leave to amend

its SAC. However, the Court finds that Magistrate Judge Hummel clearly erred when

concluding that Southwestern Payroll should have shown such diligence by proving that it

actively searched for and located other potential plaintiffs to join this non-class-action before

the deadline to amend its complaint. This Court finds that Southwestern Payroll did, in fact,

establish its diligence to show good cause in that it presented the PTAC to Defendant Pioneer

shortly after Granite Solutions retained Southwestern Payroll's counsel, and Southwestern

Payroll filed its motion for leave to amend its SAC three months later.

       Furthermore, due diligence is the primary factor in considering whether a plaintiff can

amend its complaint after the deadline imposed in the scheduling order, but there are other

factors that a court may consider as well. For example, Defendant Pioneer does not argue that

Southwestern Payroll acted in bad faith in waiting to add Granite Solutions to this action until


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after the deadline in the scheduling order, or even that it acted in bad faith in waiting more than

three months to file its motion for leave to amend its SAC. There is also no evidence that such

an amendment would be futile as Southwestern Payroll and Granite Solutions would allege the

same causes of action that have not yet been considered in a dispositive motion before the

Court. This is not a situation where Granite Solutions seeks to allege causes of action that the

Court has already dismissed when brought on behalf of Southwestern Payroll.

       Defendant Pioneer also argues that adding Granite Solutions as a plaintiff in this matter

would prejudice it because it is already "years" into discovery and Granite Solutions is

essentially a new "type" of Plaintiff, i.e., it is neither one of Defendant Mann's payroll service

companies (such as Southwestern Payroll), nor an ACH service provider (such as NatPay) that

Defendant Pioneer used. 2 See Dkt. No. 204 at 26. However, Granite Solutions has promised

that, if the Court permits Southwestern Payroll to file its PTAC adding it as a plaintiff, it will

use the same experts regarding liability, will not re-depose any witnesses, and will drop its

current lawsuit against Defendant Pioneer and others. See Dkt. No. 199-2 at 17-18; see also

Granite Solutions Groupe, Inc. v. Pioneer Bancorp, Inc., No. 1:22-CV-0842 (FJS/CFH), Dkt.

No. 1 at n.1. Although Defendant Pioneer contends that Granite Solutions may be a new "type"

of Plaintiff, the Court finds that Defendant Pioneer would certainly face more prejudice

litigating these same issues in Granite Solutions's separate case because it would have to

conduct the same paper discovery, depose the same witnesses, and even potentially present the



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  The Court acknowledges this argument but also recognizes that the plaintiff in the pending
related action, AXH Air-Coolers, LLC v. Pioneer Bancorp, Inc., 1:20-CV-1022 (FJS/CFH), is in
the same position as Granite Solutions. They are both businesses that used Defendant Mann's
payroll companies for payroll services; and, as a result of Defendant Pioneer's alleged actions,
their payroll taxes were not paid to the proper authorities. Thus, this "type" of plaintiff is not
completely unknown to Defendant Pioneer.

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same evidence to a jury at trial. Therefore, the Court finds that any prejudice to Defendant

Pioneer in adding Granite Solutions to this action would be minimal. Additionally, such

prejudice would be outweighed by prejudice to Plaintiffs and an unnecessary exacerbation of

judicial resources in maintaining the two lawsuits separately.

        Finally, the Court recognizes the complexity of this case and that the parties have

received great leniency with respect to the deadlines in the Uniform Pretrial Scheduling Order.

See Dkt. No. 112. 3 As a court in this Circuit once put it, "[t]he purpose of the scheduling order

is to avoid . . . a last minute flurry of activity at the tail end of discovery, which serves to

unnecessarily delay the trial of the action, or, where appropriate, the filing of dispositive

motions." Cyrus v. Home Depot, No. CV 04-2250 (LDW) (ETB), 2005 U.S. Dist. LEXIS

59779, *5-*6 (E.D.N.Y. July 19, 2005). In this case, in which discovery is ongoing, no

dispositive motions have been filed, the parties have received leniency with respect to the

scheduling order, there is no evidence of lack of diligence, bad faith, or prejudice, and the

amendment would conserve judicial time and resources, the Court finds that Magistrate Judge

Hummel clearly erred in denying Southwestern Payroll's motion to amend its SAC to the extent

that it sought to add Granite Solutions as a plaintiff in this matter. As such, the Court reverses

Magistrate Judge Hummel's decision with respect to this issue and grants Southwestern

Payroll's motion for leave to amend its SAC to include Granite Solutions as a plaintiff.




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 For example, under that November 3, 2020 scheduling order, discovery was to be completed
by June 30, 2021, yet the parties continue to engage in discovery at this time.
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   C. Plaintiffs' motions to amend their SAC and Intervenor Complaint to add factual
      allegations and causes of action

As stated above, Rule 15 of the Federal Rules of Civil Procedure governs amendment of

pleadings, and courts can deny a motion for leave to amend for reasons such as futility, bad

faith, undue delay, or undue prejudice to the opposing party. See Fed. R. Civ. P. 15(a)(2);

McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184, 200 (2d Cir. 2007). Magistrate Judge

Hummel applied a futility analysis to Plaintiffs' attempts to add negligence, RICO, and aiding

and abetting fraud and conversion claims to their complaints. "'A proposed amendment to a

complaint is futile when it could not withstand a motion to dismiss.'" Doe v. Roman Catholic

Diocese of Erie, No. 3:20-CV-0257 (LEK/ML), 2021 U.S. Dist. LEXIS 217564, *6 (N.D.N.Y.

Nov. 10, 2021) (quoting Balintulo v. Ford Motor Co., 796 F.3d 160, 164-65 (2d Cir. 2015)). To

withstand a motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure, "'a complaint must contain sufficient factual matter, accepted as true, to "state a

claim for relief that is plausible on its face."'" Elias v. Rolling Stone LLC, 872 F.3d 97, 104 (2d

Cir. 2017) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d

929 (2007))). "'The plausibility standard is not akin to a "probability requirement," but it asks

for more than a sheer possibility that a defendant has acted unlawfully. Where a complaint

pleads facts that are "merely consistent with" a defendant's liability, it "stops short of the line

between possibility and plausibility of entitlement to relief."'" Id. (quotation omitted).




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       1. Southwestern Payroll's attempt to "incorporate by reference" NatPay's arguments
          with respect to amending its PTAC to add certain claims

       Before considering the futility of Plaintiffs' amendments to their complaints, the Court

must first address whether Southwestern Payroll may incorporate by reference NatPay's

arguments and objections to Magistrate Judge Hummel's decision denying it leave to amend its

SAC to add negligence, RICO, and aiding and abetting fraud and conversion claims. In its

memorandum of law on appeal, Southwestern Payroll only addressed the issue of whether

Magistrate Judge Hummel erred in denying it leave to add Granite Solutions as a plaintiff. See

generally Dkt. No. 199-2. Southwestern Payroll then noted that, "[w]ith regard to the

Magistrate Judge's error in denying [Southwestern Payroll] leave to amend to add clarity,

substance, and additional claims against [Defendant] Pioneer and in denying Plaintiffs leave to

further amend their complaints, Southwestern Payroll incorporates by reference the arguments

and authorities included in NatPay's Memorandum of Law[.]" See id. at 6.

       Defendant Pioneer responds by pointing out that a litigant cannot "incorporate by

reference" the arguments of other parties in consolidated cases. See Dkt. No. 204 at 27.

Defendant Pioneer argues that Southwestern Payroll's "careless treatment of its own claims on

appeal should be viewed as forfeiture" as it puts the onus on Defendant Pioneer and the Court to

parse a 100-page complaint to discern the differences between Southwestern Payroll's PTAC

and NatPay's PAC. See id. Defendant Pioneer further contends that the parties are differently

situated and have different postures in this litigation. See id. at 27-28.

       In Plaintiffs' joint response, they argue that it was reasonable for Southwestern Payroll

to incorporate by reference NatPay's arguments regarding Magistrate Judge Hummel's decision

to deny them leave to amend their general allegations and add negligence, RICO, and aiding

and abetting fraud and conversion claims. See Dkt. No. 212 at 13. Plaintiffs contend that their

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PACs are nearly identical, their arguments in support of their motions to amend their allegations

and add claims are the same, and Magistrate Judge Hummel considered Plaintiffs' claims

together. See id. Plaintiffs also argue that Defendant Pioneer did not overlook Southwestern

Payroll's statements giving notice of incorporation by reference and was in no way confused as

to what arguments were incorporated, nor was it prejudiced. See id.

       "As a general matter, litigants are not permitted to 'join in' or 'incorporate by reference'

the arguments of other litigants." Honeywell Int'l Inc. v. Citgo Petroleum Corp., 574 F. Supp.

3d 76, 82 n.2 (N.D.N.Y. 2021) (Scullin, S.J.) (citing, c.f., Nissan Motor Acceptance Corp. v.

Dealmaker Nissan, LLC, No. 09-CV-196, 2012 U.S. Dist. LEXIS 89737, 2012 WL 2522651, *2

(N.D.N.Y. June 27, 2012) (Suddaby, J.) (noting that, "[s]etting aside the risk that such reference

could cause the referring document to violate the District's rule on page limitations (once it is

incorporated into the referred document), such practice also risks causing the opposing party to

inadvertently overlook the attempted incorporation, and risks confusing the Court as to which

'incorporated' arguments are not actually being relied upon")). However, for the reasons set

forth below, the Court declines to follow this "general rule" and considers Southwestern

Payroll's arguments on appeal with respect to the additional allegations and claims asserted in

its PTAC.

       Throughout the procedural history of this case, the Court has treated Plaintiffs as having

the same interests and has permitted them to file joint motions and letters. See Dkt. Nos. 162,

164, 178. Southwestern Payroll and NatPay submitted their own respective memoranda with

respect to this appeal, but the Court permitted Defendant Pioneer to respond to both Plaintiffs in

a single memorandum and granted Plaintiffs' request to file a joint reply. See Dkt. Nos. 204,

212. Furthermore, Magistrate Judge Hummel discussed both Plaintiffs' PACs together in his


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underlying decision and denied both Plaintiffs leave to amend their complaints for the same

reasons. See Dkt. No. 197 at 17-42. As Plaintiffs argue in their joint reply brief, their PACs are

nearly identical; they added the same or similar factual allegations and causes of action.

Compare Dkt. No. 153-3 with Dkt. No. 155-3.

       Southwestern Payroll also indicated in its Notice of Appeal that it objected to Magistrate

Judge Hummel's denial of leave to file its Third Amended Complaint to, among other things,

clarify, modify, and add substance to the factual allegations in the causes of action it pled in its

SAC and add additional causes of action against Defendant Pioneer for negligence, violation of

RICO statutes, and for aiding and abetting conversion and fraud. See Dkt. No. 199. There is no

dispute that Defendant Pioneer saw Southwestern Payroll's objection in its Notice of Appeal

and noted its "incorporation by reference" of NatPay's arguments in its memorandum of law.

See Dkt. No. 204 at 27. Defendant Pioneer also responded to both Plaintiffs' arguments about

their PACs in its memorandum of law. See generally id.

       For these reasons, the Court finds that there is little to no risk of the opposing party

inadvertently overlooking the incorporation or being prejudiced in this case. The Court further

finds that, because this is an appeal of Magistrate Judge Hummel's decision, in which he

addressed the futility arguments pertaining to the amendments for both Plaintiffs

simultaneously, there is little to no risk of confusing the Court. As such, the Court accepts

Southwestern Payroll's incorporation by reference of NatPay's arguments with respect to the

additional factual allegations and causes of actions in its PTAC and addresses both Plaintiffs'

PACs when conducting its futility analysis below.




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       2. Cause of action for negligence/gross negligence

       In Southwestern Payroll's SAC and NatPay's Intervenor Complaint, both parties alleged

causes of action for gross negligence against Defendant Pioneer. See Dkt. No. 72 at ¶¶ 69-77;

Dkt. No. 78 at ¶¶ 126-137. As part of their motions for leave to amend, Plaintiffs added causes

of action for simple negligence to their PACs. See Dkt. No. 153-3 at ¶¶ 437-453; Dkt. No. 155-

3 at ¶¶ 442-459. "Under New York law, '[i]n order to set forth a prima facie case of negligence,

the plaintiff's evidence must establish (1) the existence of a duty on defendant's part as to

plaintiff; (2) a breach of this duty; and (3) that such breach was a substantial cause of the

resulting injury.'" Birch v. White Way Laundry, Inc., No. 1:19-cv-1560 (GLS/DJS), 2021 U.S.

Dist. LEXIS 179432, *6 (N.D.N.Y. Sept. 21, 2021) (Sharpe, S.J.) (quoting In re Lake George

Tort Claims, 461 F. App'x 39, 40 (2d Cir. 2012) [(summary order)] (quoting Merino v. N.Y.C.

Transit Auth., 218 A.D.2d 451, 457, 639 N.Y.S.2d 784 (3d Dep't 1996))). Establishing a claim

for gross negligence requires a "higher standard" of pleading compared to simple negligence.

See Mabb v. Town of Saugerties, No. 1:18-CV-866 (FJS/DJS), 2020 U.S. Dist. LEXIS 5797,

*21 (N.D.N.Y. Jan. 14, 2020) (Scullin, S.J.). "'"Gross negligence is the commission or

omission of an act or duty owing by one person to a second party which discloses a failure to

exercise slight diligence. In other words, the act or omission must be of an aggravated character

as distinguished from the failure to exercise ordinary care."'" Id. (quoting Vosburgh v. Am.

Nat'l Red Cross, No. 5:08-CV-00653 (NPM/GHL), 2009 U.S. Dist. LEXIS 99826, *34

(N.D.N.Y. Oct. 27, 2009) (quoting Kofin v. Court Plaza, Inc., 886 N.Y.S.2d 71, 23 Misc. 3d

1121[A], 2009 NY Slip Op 50876[U] (N.Y. Sup. Ct. 2009) (citing Weld v. Postal Tel. Cable

Co., 210 N.Y. 59, 103 N.E. 957, 2 N.Y.L. Cas. 460 (1913)))).




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         In a section of his Memorandum-Decision and Order entitled "iii. Gross Negligence,"

Magistrate Judge Hummel erroneously asserted that NatPay sought to amend its fourth cause of

action "to add factual allegations to support a gross negligence claim," and he rejected that

request. See Dkt. No. 197 at 39. However, as stated above, Plaintiffs did not seek to add a

claim of gross negligence to their PACs; they sought to add simple negligence claims. See Dkt.

No. 153-3 at ¶¶ 437-453; Dkt. No. 155-3 at ¶¶ 442-459. Because establishing a claim for gross

negligence requires a "higher standard" of pleading compared to simple negligence, see Mabb,

2020 U.S. Dist. LEXIS 5797, at *21, the Court finds that Magistrate Judge Hummel clearly

erred.

         Magistrate Judge Hummel also found, for the reasons set forth in Defendant Pioneer's

opposition brief, that noncompliance with banking regulations or statutes cannot serve as the

basis for a negligence claim and rejected NatPay's motion on that basis. See Dkt. No. 197 at 39.

However, at least one court in this Circuit has concluded that, under New York law, a violation

of the Bank Secrecy Act or other banking regulations or statutes could constitute evidence of

simple negligence, but it could not constitute evidence of negligence per se. See Marchak v.

JPMorgan Chase & Co., No. 15-CV-4297 (ILG) (MDG), 2016 U.S. Dist. LEXIS 92995, *9

(E.D.N.Y. July 15, 2016). Plaintiffs do not seek to add a claim for negligence per se, however,

nor do they rely solely on Defendant Pioneer's alleged violations of banking regulations to

support their simple negligence claims. See Dkt. No. 153-3 at ¶¶ 437-453; Dkt. No. 155-3 at

¶¶ 442-459.

         Instead, Plaintiffs allege that Defendants owed them a duty to keep and maintain third-

party employer tax funds in trust for payment to the taxing authorities, failed to adequately

monitor the tax funds, intentionally diverted the tax funds in the 2440 and 0212 tax accounts to


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cover overdrafts, and used those tax funds as collateral to pay down the Valuewise Loan. See

Dkt. No. 153-3 at ¶¶ 437-443; Dkt. No. 155-3 at ¶¶ 442-448. Plaintiffs allege that Defendant

Pioneer's conduct was grossly deficient in that it breached its duty to monitor the Mann Entity

Accounts for suspicious activities, breached its duty to operate in a manner that protects the

public interest, and failed to use the ordinary care of a reasonably prudent bank under the same

or similar circumstances. See Dkt. No. 153-3 at ¶¶ 444-447; Dkt. No. 155-3 at ¶¶ 449-452.

Plaintiffs further allege that Defendant Pioneer deliberately ignored its obligations, overlooked

suspicious activities, converted the third-party tax funds to set-off overdrafts in other Mann-

owned accounts, breached its duties to Plaintiffs, and acted so negligently, recklessly, and

willfully as to have caused NatPay to suffer "over $3.8 million" in damages and Southwestern

Payroll and Granite Solutions "over $2 million in tax funds due to various taxing authorities."

See Dkt. No. 153-3 at ¶¶ 447-453; Dkt. No. 155-3 at ¶¶ 452-459.

       The Court finds that Magistrate Judge Hummel clearly erred in applying the heightened

gross negligence standard and failing to consider the factual allegations with respect to

Plaintiffs' claims for simple negligence. The Court further finds that, based on the allegations in

Plaintiffs' PACs, they have stated claims for simple negligence against Defendant Pioneer that

are not futile. As such, the Court reverses Magistrate Judge Hummel's decision and grants

Plaintiffs' motions to amend their complaints to add simple negligence claims.



       3. RICO claims

       Plaintiffs allege in their PACs that Defendant Pioneer violated Sections 1962(c) and (d)

of the RICO Act. See Dkt. No. 153-3 at ¶¶ 461-485; Dkt. No. 155-3 at ¶¶ 469-494; see also 18

U.S.C. § 1962(c). Pursuant to Section 1962(c), it is "unlawful for any person employed by or


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associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise's

affairs through a pattern of racketeering activity or collection of unlawful debt." 18 U.S.C.

§ 1962(c). Section 1962(d) makes it unlawful for any person to conspire to violate any of the

provisions in Section 1962(a), (b), or (c). See id. at § 1962(d).

       "To establish a civil RICO claim, a plaintiff must allege '(1) conduct, (2) of an

enterprise, (3) through a pattern (4) of racketeering activity,' as well as 'injury to business or

property as a result of the RICO violation.'" Lundy v. Catholic Health Sys. of Long Island, Inc.,

711 F.3d 106, 119 (2d Cir. 2013) (quoting Anatian v. Coutts Bank (Switz.) Ltd., 193 F.3d 85, 88

(2d Cir. 1999) (internal quotation marks omitted)). "The pattern of racketeering activity must

consist of two or more predicate acts of racketeering." Id. (citing 18 U.S.C. § 1961(5)). More

specifically, "[p]leading a RICO claim based on a pattern of racketeering activity requires

alleging '(1) at least two predicate acts of racketeering occurring within a ten-year period; (2)

that these predicate acts are related to each other; and (3) that these predicate acts amount to or

pose a threat of continuing criminal activity.'" Haymount Urgent Care PC v. GoFund Advance,

LLC, No. 22-cv-1245 (JSR), 2022 U.S. Dist. LEXIS 112768, *25 (S.D.N.Y. June 27, 2022)

(quoting Related Companies, L.P. v. Ruthling, 2017 U.S. Dist. LEXIS 207857, 2017 WL

6507759, at *18 (S.D.N.Y. Dec. 18, 2017)).

       "Predicate acts are those that are 'indictable under specified federal statutes . . . as well

as certain crimes chargeable under state law.'" Entretelas Americanas S.A. v. Soler, 840 F.

App'x 601, 603 (2d Cir. 2020), as amended (Jan. 7, 2021) (summary order) (quoting RJR

Nabisco, Inc. v. Eur. Cmty., 136 S. Ct. 2090, 2096, 195 L. Ed. 2d 476 (2016) (internal quotation

marks omitted)). Plaintiffs allege that Defendants engaged in numerous predicate acts of


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money laundering in violation of 18 U.S.C. §§ 1956 and 1957. See Dkt. No. 153-3 at ¶ 471;

Dkt. No. 155-3 at ¶ 480. "To properly allege a violation of § 1956, Plaintiffs must plead that

'(1) the defendant conducted a financial transaction in interstate commerce; (2) the defendant

knew that the property involved in the transaction represented some form of specific unlawful

conduct; (3) the transaction involves the proceeds of [specified] unlawful activity; and (4) the

transaction was conducted with the purpose of concealing the nature, location, source,

ownership, or the control of the illegally acquired proceeds.'" Palatkevich v. Choupak, No. 12

Civ. 1681 (CM); No. 12 Civ. 1682 (CM), 2014 U.S. Dist. LEXIS 10570, *50-*51 (S.D.N.Y.

Jan. 24, 2014) (quoting Casio, 2000 U.S. Dist. LEXIS 15411, 2000 WL 1877516, at *16

(emphasis added)); see 18 U.S.C. § 1956(a)(1). A specified unlawful activity ("SUA") includes

any activity listed in 18 U.S.C. § 1956(c)(7), and includes, among other things, wire fraud,

which is a violation of 18 U.S.C. § 1343. See 18 U.S.C. §§ 1343, 1956(c)(7); Dkt. No. 200-2 at

20-21. "To violate § 1957, a defendant must have '(1) knowingly engaged or attempted to

engage in a monetary transaction involving criminally derived property, (2) with such property

being valued at more than $10,000, and (3) with such money actually being derived from

specific criminal activity.'" Palatkevich, 2014 U.S. Dist. LEXIS 1057 at *51 (quoting Bernstein

v. Misk, 948 F. Supp. 228, 236 n.2 (E.D.N.Y. 1997) (emphasis added)). "Money laundering

claims are not subject to the heightened pleading standard of Rule 9(b)[.]" Jus Punjabi, LLC v.

Get Punjabi, Inc., No. 1:14-cv-3318-GHW, 2015 U.S. Dist. LEXIS 66006, *18 (S.D.N.Y. May

20, 2015) (collecting cases).

       Magistrate Judge Hummel denied Plaintiffs' motions for leave to amend their complaints

to add RICO claims after concluding that Plaintiffs failed to establish (1) a predicate act, (2) that

Defendant Pioneer conducted or directed an enterprise, (3) proximate cause, and (4) a RICO


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conspiracy claim. See Dkt. No. 197 at 17-30. Specifically, he found that Plaintiffs' PACs

lacked any allegation that an SUA generated the proceeds involved in the transactions. See id.

at 20. Magistrate Judge Hummel acknowledged that, in Plaintiffs' joint reply brief, they argued

that the SUA they alleged was a "fraudulent scheme," and that, in furtherance of that scheme,

Defendant Mann "'caused Cloud Payroll to induce NatPay to facilitate the wire transfer of tax

funds from employers' accounts to the payroll accounts at [Defendant] Pioneer Bank.'" See id.

at 20-21 (quoting Dkt. No. 164 at 4-5). Magistrate Judge Hummel asserted, however, that

Plaintiffs "fail[ed] to plead 'proof of material representation' with sufficient 'particularity'" or

assert in their pleadings, motions, or in their memoranda that the predicate act they alleged was

wire fraud. See id. at 21-22.

        According to Magistrate Judge Hummel, based on the Rule 9(b) particularity

requirements in the Federal Rules of Civil Procedure, a claim of wire fraud under the RICO

statute must allege with specificity numerous uses of wires in furtherance of the fraud. See id.

at 23. Magistrate Judge Hummel stated that Rule 9(b) did not require Plaintiffs to set forth

every single communication in their PACs, but none of Plaintiffs' allegations detailed how

Defendant Mann induced Southwestern Payroll and NatPay through a fraudulent scheme. See

id. at 24. Thus, Magistrate Judge Hummel found that Plaintiffs' PACs' descriptions of the

"fraudulent scheme" were insufficient and failed to meet the heightened pleading standard that

Rule 9(b) requires. See id. at 24-25.

        Initially, it appears to this Court that Magistrate Judge Hummel conflated a RICO

predicate act with "specified unlawful activity" for purposes of establishing the crime of money

laundering. Plaintiffs have not alleged wire fraud, in violation of 18 U.S.C. § 1343, as a cause

of action in this case nor, as Magistrate Judge Hummel indicated, as the predicate acts to their


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RICO claims. Instead, Plaintiffs assert that they alleged money laundering as the predicate acts

to their RICO claims, and wire fraud was the SUA by which Defendants came across the money

that they allegedly laundered. As stated above, money laundering claims are not subject to the

heightened pleading standard in Rule 9(b). See Jus Punjabi, LLC, 2015 U.S. Dist. LEXIS

66006, at *18. This Court has not found any caselaw – nor have the parties pointed to any –

indicating that a plaintiff alleging a RICO predicate act of money laundering, with an SUA of

fraud, must plead the SUA to a heightened pleading standard under Rule 9(b). The heightened

pleading standard appears only to apply to the predicate act – not an SUA – if the predicate act

constituted an act of fraud. Accordingly, the Court finds that Magistrate Judge Hummel's

conflation of the predicate act with the SUA in this case, and his application of Rule 9(b), were

clearly erroneous.

       In Plaintiffs PACs, they sought to establish money laundering as the predicate acts by

alleging that, from 2014 through August 30, 2019, Defendant Mann diverted more than $1.5

billion from the 0212 tax account to other Mann Entity Accounts and also routinely diverted tax

funds from the 2440 tax account to other Mann Entity Accounts to reduce the balance on the

Valuewise Loan. See Dkt. Nos. 153-3 at ¶¶ 233-234; 155-3 at ¶¶ 231-232. Plaintiffs alleged

that Defendant Pioneer "understood and agreed to allow [Defendant] Mann to divert the third-

party payroll and tax funds to other Mann Entity Accounts to cover any shortfalls in such

accounts and pay down the Valuewise Loan." See Dkt. Nos. 153-3 at ¶ 241; 155-3 at ¶ 239.

Plaintiffs claimed that Defendant Pioneer "sanctioned these diversions and even encouraged

[Defendant] Mann to move the funds." See Dkt. Nos. 153-3 at ¶ 241; 155-3 at ¶ 239.

Specifically, Plaintiffs allege that Defendant Mann began experiencing regular overdrafts in

2014; and, when they occurred, Defendant Pioneer would put a hold on the overdrawn


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account(s) and Defendant Mann would ask Defendant Pioneer to pay the overdraft amounts.

See Dkt. No. 153-3 at ¶ 242; Dkt. No. 155-3 at ¶ 240. Defendant Mann allegedly pointed to the

0212 tax account – his only account that routinely had a substantial positive balance – to justify

paying the overdrafts; and, "without exception," Defendant Pioneer paid the outstanding items,

thus extending Defendant Mann credit until he diverted the tax trust funds from his other

accounts to the overdrawn account(s). See Dkt. No. 153-3 at ¶¶ 242-243; Dkt. No. 155-3 at

¶¶ 240-241. Plaintiffs claimed that Defendant Mann's overdrafts were so frequent and

substantial that eventually Defendant Pioneer insisted that Defendant Mann move the funds into

the overdrawn account before it would pay the outstanding item, and Defendant Pioneer's

employees would check the account to ensure that Defendant Mann had moved the money. See

Dkt. No. 153-3 at ¶ 244; Dkt. No. 155-3 at ¶ 242. Plaintiffs pointed to Defendant Pioneer's

senior executives, including "Blessing and Fleming," who "gave approval to pay the

outstanding items, usually indicated as a direction to 'pay and waive,' meaning that the items

should be paid, and no overdraft fees assessed." See Dkt. No. 153-3 at ¶¶ 245-246; Dkt. No.

155-3 at ¶¶ 243-244. According to Plaintiffs, Defendant Pioneer's senior executives were "well

aware of [Defendant] Mann's use of the payroll and tax funds in the 0212 Tax Account and the

2440 Tax Accounts to cover overdrafts." See Dkt. No. 153-3 at ¶ 246; Dkt. No. 155-3 at ¶ 244.

To support these allegations, Plaintiffs provided examples, excerpted emails between Defendant

Mann and Defendant Pioneer's executives, and bank statements that described transferring

funds from the 0212 and 2440 tax accounts to other accounts, including to pay the Valuewise

Loan. See Dkt. No. 153-3 at ¶¶ 247-323; Dkt. No. 155-3 at ¶¶ 245-322.

       Plaintiffs further alleged that, from August 30, 2019, to September 3, 2019, Defendant

Pioneer blocked withdrawals from Cloud Payroll's accounts; and, on September 3, 2019, the


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2440 tax account had a positive balance of $8,883,528.54, reflecting Southwestern Payroll's,

Granite Solutions's, and other third-parties' deposits into the account. See Dkt. No. 153-3 at

¶¶ 324-325; Dkt. No. 155-3 at ¶¶ 323-327. Plaintiffs alleged that, on September 4, 2019,

Defendant Pioneer's senior officers met with Defendant Mann, who asked Defendant Pioneer to

release the third-party funds in the MyPayrollHR and Cloud Payroll accounts "so that the

payroll companies would not be destroyed." See Dkt. No. 153-3 at ¶ 326; Dkt. No. 155-3 at

¶ 328. Defendant Pioneer allegedly refused to release the funds unless another, non-party bank

agreed to release funds it had frozen in its accounts that Defendant Mann controlled. See Dkt.

No. 153-3 at ¶ 327; Dkt. No. 155-3 at ¶ 329. Plaintiffs alleged that Defendant Mann left the

meeting "with the understanding that [Defendant] Pioneer intended to claim the third-party tax

and payroll funds for itself to offset [Defendant] Pioneer's potential losses." See Dkt. No. 153-3

at ¶ 327; Dkt. No. 155-3 at ¶ 329.

       According to Plaintiffs, had Defendant Pioneer not withdrawn money from the 2440 tax

account, it would have had a positive balance of $10,662,269.25 on and after September 4,

2019; however, on that day, Defendant Pioneer withdrew $6,845,944.84 from the account,

which it deposited into its own general ledger account. See Dkt. No. 153-3 at ¶¶ 328-329; Dkt.

No. 155-3 at ¶¶ 330-331. Plaintiffs contended that Defendant Pioneer did not have set-off

rights with respect to the 2440 tax account because no Cloud Payroll accounts had overdrafts,

and Defendant Pioneer knew the funds were third-party tax payments. See Dkt. No. 153-3 at

¶ 330; Dkt. No. 155-3 at ¶ 332. Plaintiffs also alleged that Defendant Pioneer diverted

$6,845,000 from the 2440 tax account to the 0212 tax account on September 4, 2019, and then

transferred $2.8 million of the third-party tax funds from the 0212 tax account to other Mann

Entity Accounts to pay down the Valuewise Loan. See Dkt. No. 153-3 at ¶ 331; Dkt. No. 155-3


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at ¶ 333. Significantly, Plaintiffs alleged that Defendant Pioneer manipulated the dates on

which those transactions occurred, so that the statement showed those transactions occurred on

September 3, 2019, instead of September 4, 2019. See Dkt. No. 153-3 at ¶¶ 332-333; Dkt. No.

155-3 at ¶¶ 334-335. Plaintiffs argued that Defendant Pioneer manipulated other transaction

dates to make "it appear as though [Defendant] Mann had initiated the payment from the

Valuewise 3614 account to the Valuewise loan account on August 30, 2019, before the Mann

Accounts were partially 'frozen[,]'" even though Defendant Pioneer actually made the transfers

on September 4, 2019. See Dkt. No. 153-3 at ¶ 337; Dkt. No. 155-3 at ¶ 339.

       As a result of these transfers, Plaintiffs alleged that Defendant Pioneer intentionally

created a negative balance in the 2440 tax account; the negative balance was not because the

Cloud Payroll account had been overdrawn. See Dkt. No. 153-3 at ¶¶ 338-341; Dkt. No. 155-3

at ¶¶ 340-343. Plaintiffs argue that the negative balance allowed Defendant Pioneer to

understate the amount of funds it "set off" from the 2440 tax account, and it allowed Defendant

Pioneer to record a write off of $2.5 million in the first quarter of 2020. See Dkt. No. 153-3 at

¶¶ 342-343; Dkt. No. 155-3 at ¶¶ 344-345. Additionally, Plaintiffs alleged that Defendant

Pioneer blocked over $4 million in attempted withdrawals from the 2440 tax account from

August 30, 2019, to September 4, 2019, which prevented the funds from being paid to the IRS

and other taxing authorities. See Dkt. No. 153-3 at ¶¶ 345-348; Dkt. No. 155-3 at ¶¶ 347-350.

Plaintiffs also alleged that an additional $6.5 million in funds that had been deposited into the

2440 tax account prior to August 30, 2019 – and not yet due to be paid to the appropriate taxing

jurisdictions – were "converted by Defendants" and never paid. See Dkt. No. 153-3 at ¶ 349;

Dkt. No. 155-3 at ¶ 351.




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       According to Plaintiffs, Defendant Pioneer worked to "conceal [its] misconduct" in

various ways, such as by purposefully keeping other banks "in the dark" and not responding to

their inquiries about the Mann Entity Accounts. See Dkt. No. 153-3 at ¶¶ 350-368; Dkt. No.

155-3 at ¶¶ 366-384. Plaintiffs further allege that Defendant Pioneer lied to the National

Automated Clearing House Association ("NACHA"), indicating it was entitled to set-off the tax

funds in the 2440 account because of overdrafts occurring in the other Mann Entity Accounts.

See Dkt. No. 153-3 at ¶¶ 374-378; Dkt. No. 155-3 at ¶¶ 390-394. Plaintiffs argued that this

information was false because Cloud Payroll had no "debt obligations" to Defendant Pioneer,

nor did any of the Cloud Payroll accounts have overdrafts. See Dkt. No. 153-3 at ¶ 380; Dkt.

No. 155-3 at ¶ 396. Defendant Pioneer allegedly misled and deceived other third parties as

well, including small businesses, not-for-profits, and other employers throughout the country

who "sent communications to [Defendant] Pioneer asking about their tax and/or payroll

monies." See Dkt. No. 153-3 at ¶ 384; Dkt. No. 155-3 at ¶ 400. As an example, Plaintiffs

quoted one email in which Defendant Pioneer explicitly stated that it never provided payroll

services, ACH tax wiring services, tax filing services, or other payroll related services for Cloud

Payroll, even though it was "well aware that the funds it had seized were third-party payroll and

tax funds" from Cloud Payroll's 2440 account. See Dkt. No. 153-3 at ¶¶ 386-387; Dkt. No. 155-

3 at ¶¶ 402-403.

       After reviewing the allegations in the PACs in the light most favorable to Plaintiffs, as

the Court must at this stage, and applying the appropriate law, the Court finds that Plaintiffs'

PACs sufficiently state claims against Defendant Pioneer for RICO violations pursuant to

Sections 1962(c) and (d), which encompassed the predicate acts of money laundering, such that

amending those complaints would not be futile. Accordingly, the Court reverses Magistrate


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Judge Hummel's decision and grants Plaintiffs' motions for leave to amend their complaints to

add their RICO claims against Defendant Pioneer.



       4. Aiding and abetting fraud and conversion claims

       Plaintiffs lastly sought to amend their PACs to allege state-law claims against Defendant

Pioneer for aiding and abetting fraud and conversion. See Dkt. No. 153-3 at ¶¶ 486-499; Dkt.

No. 155-3 at ¶¶ 495-514. "To state a claim for aiding and abetting fraud under New York law,

a plaintiff must plead facts showing (1) the existence of a fraud, (2) the defendant's knowledge

of the fraud, (3) that the defendant provided substantial assistance to advance the fraud's

commission, and (4) damages." Mid Atl. Framing, LLC v. Varish Constr., Inc., 117 F. Supp. 3d

145, 154-55 (N.D.N.Y. 2015) (D'Agostino, J.) (citing Pension Comm. of Univ. of Montreal

Pension Plan v. Banc of Am. Sec., LLC, 446 F. Supp. 2d 163, 201 (S.D.N.Y. 2006)). The

elements for aiding and abetting a conversion are "substantially similar." Weshnak v. Bank of

Am., N.A., 451 F. App'x 61, 61-62 (2d Cir. 2012) (summary order) (quotation and citation

omitted). "'The claims require the existence of a primary violation, actual knowledge of the

violation on the part of the aider and abettor, and substantial assistance.'" Id. at 62 (quoting

Kirschner v. Bennett, 648 F. Supp. 2d 525, 533 (S.D.N.Y. 2009); see also Lerner v. Fleet Bank,

N.A., 459 F.3d 273, 292-95 (2d Cir. 2006)); see City of Syracuse v. Loomis Armored US, LLC,

900 F. Supp. 2d 274, 302 n.7 (N.D.N.Y. 2012) (D'Agostino, J.) (ruling that "New York law

permits a claim for aiding and abetting conversion where the plaintiff can prove (1) the

existence of a violation committed by the primary party; (2) knowledge of this violation on the

part of the aider and abettor; and (3) substantial assistance by the aider and abettor in

achievement of the violation." (citation omitted)). A plaintiff must plead a claim for aiding and


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abetting fraud or conversion with heightened particularity required pursuant to Rule 9(b) of the

Federal Rules of Civil Procedure. See In re Agape Litig. v. Cosmo, 773 F. Supp. 2d 298, 307

(E.D.N.Y. 2011).

       In his decision, Magistrate Judge Hummel acknowledged that Defendant Mann pled

guilty to money laundering and admitted to fraudulent conduct; and, as such, he found that

Plaintiffs sufficiently demonstrated the existence of a "primary violation" for purposes of their

pending motions. See Dkt. No. 197 at 32. Magistrate Judge Hummel then turned to the

question of whether Plaintiffs established Defendant Pioneer's knowledge of the fraud. See id.

at 33-34. "Plaintiffs 'must allege that the defendant had actual knowledge of the wrongful

conduct committed, not simply that the defendant should have known of the conduct.'" Id. at

308 (quoting Anwar, 728 F. Supp. 2d at 442-43 (citing Rosner II, 349 Fed. App'x 637, 639 (2d

Cir. 2009))). "Statements alleging that a defendant 'should have known that something was

amiss with [] transactions,' even if pled with conclusory statements that the defendant 'actually

knew something notwithstanding . . . [are] insufficient to support and aiding-and-abetting claim

under New York law.'" Id. (quoting Rosner II, 349 Fed. App'x at 639). "Thus, 'as in the context

of pleading a primary violation, pleading knowledge for purposes of an aiding and abetting

claim requires allegations of facts that give rise to a "strong inference" of actual knowledge.'"

Id. (quoting Fraternity Fund Ltd. v. Beacon Hill Asset Mgmt, LLC, 479 F. Supp. 2d 349, 367

(S.D.N.Y. 2007)).

       With respect to this element, Magistrate Judge Hummel pointed to Plaintiffs' various

allegations on which they relied to support their claims that Defendant Pioneer had actual

knowledge of the fraud, including the following:

               (1) the fact that the ACH credits/deposits were "[e]asily
               identifiable to [Defendant] Pioneer as third-party tax monies

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               because each was labelled 'CLOUDPAYROLL/TAX COL' and
               included the name of the third-party employer to which payment
               was associated["] (Dkt. No. 153-2 [at] ¶ 325); (2) that [Defendant]
               Mann told [Defendant] "Pioneer's outside counsel" on September
               4, 2019, that "third-party payroll and tax funds were housed in
               Mann Entity Accounts and should be released so that the payroll
               companies would not be rendered worthless" (Id. [at] ¶ 326); (3)
               e-mails referring to the accounts in question as "the tax account"
               (Id. [at] ¶ 321); (4) that [Defendant] Pioneer "deliberately ignored
               all the red flags in the Mann Entity accounts" that "evidenced that
               [Defendant] Mann was engaged in kiting" and failed to
               "perform[] the customer assessment or monitoring they were
               required to perform" [(Id. at ¶ 291); (5) that [Defendant] Pioneer
               allowed [Defendant] Mann to move money from the 0212 account
               to cover negative balances in other accounts, assisting him in
               doing so, approving transfers out of accounts 2440 and 0212, and
               waiving associated overdraft fees (Id. [at] ¶¶ 256-78); (6)
               [Defendant Mann] requested from [Defendant] Pioneer['s]
               employees "copies of checks made payable from MyPayrollHR
               accounts to taxing authorities" where the checks all "clearly
               indicated that the payment was made from the 0212 Tax Account
               or 2440 Tax Account on behalf of a specific third-party employer
               for third quarter taxes." (Id. [at] ¶ 228); (7) e-mails between
               [Defendant] Mann and [Defendant] Pioneer['s] employees
               referencing tax payments out of account 2440 (Id. [at] ¶ 224);
               [and] (8) debits to [the] 0212 account "which identified a third-
               party employer" and used terms reflecting a third-party tax
               payment and reflected a third-party tax payment (Id. [at] ¶ 221).

See Dkt. No. 197 at 33-34.

       Magistrate Judge Hummel held that Plaintiffs demonstrated Defendant Pioneer's

constructive knowledge of Defendant Mann's fraud or a "negligent failure to identify the fraud

and take action against it," but they had not demonstrated Defendant Pioneer's actual knowledge

of it. See id. at 34-35. For the reasons set forth below, the Court finds that Magistrate Judge

Hummel abused his discretion in coming to this conclusion.

       Although not every allegation that Magistrate Judge Hummel pointed to constituted

actual knowledge, the Court finds that certain allegations, such as that Defendant Mann

specifically informed Defendant Pioneer's counsel that the funds were tax funds, the emails

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between Defendant Mann and Defendant Pioneer's employees referring to the accounts as "tax

accounts," and the copies of checks from the 0212 and 2440 tax accounts to the taxation

authorities all clearly give rise to a "strong inference" that Defendant Pioneer had actual

knowledge that the funds in the 0212 and 2440 accounts were tax funds that were intended to be

remitted to the appropriate taxing authorities.

       Additionally, Plaintiffs alleged in a specific, non-conclusory manner that Defendant

Pioneer allowed and assisted Defendant Mann with transferring funds from the 0212 and 2440

tax accounts into other Mann Entity Accounts. As discussed with respect to Plaintiffs' proposed

RICO claims, Plaintiffs pointed to concrete examples in the form of excerpts from emails, bank

statements, and other communications to support their claims that Defendant Mann frequently

informed Defendant Pioneer that he was transferring money from the tax accounts to other

accounts, Defendant Pioneer processed those requests regularly and even asked Defendant

Mann to "get the money moved," and it approved those transactions while instituting a "pay and

waive," in which it regularly waived Defendant Mann's overdraft fees so long as the money was

moved from the tax accounts to the overdrawn account. See generally Dkt. No. 153-3 at

¶¶ 242-323; Dkt. No. 155-63 at ¶¶ 240-322. In one email from Defendant Mann to one of

Defendant Pioneer's employees on September 3, 2019, he indicated that there would be

"probably close to 1.9M to cover tomorrow morning from the tax account," he admitted that he

"did move probably 3M to the line from the tax account on Friday," and he hoped that a non-

party bank would release the funds in his account with it because his guess was that "they have

the remainder to cover future tax liabilities." See Dkt. No. 153-3 at ¶ 321; Dkt. No. 155-3 at

¶ 320. Defendant Pioneer's employee then forwarded that email to other senior employees,

including the Chief Financial Officer, Executive Vice President, and Chief Risk Officer for


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Defendant Pioneer. See Dkt. No. 153-3 at ¶ 322; Dkt. No. 155-3 at ¶ 321. Concrete examples,

such as these, establish a "strong inference" that Defendant Pioneer knew that Defendant Mann

transferred money from tax accounts that would be needed to pay for future tax liabilities to

cover overdrafts in other accounts he had with Defendant Pioneer. Based on all of the

extensive, specific allegations in Plaintiffs' PACs, the Court finds that the PACs, when viewed

in the light most favorable to Plaintiffs, demonstrate that Defendant Pioneer had actual

knowledge that the money in the 0212 and 2440 tax accounts were tax funds to be remitted to

the appropriate authorities, yet it was aware of, and encouraged, Defendant Mann's transfer of

those funds to his other accounts to cover overdrafts and pay down loans he owed to Defendant

Pioneer.

       Having found that Plaintiffs satisfied the second element of their aiding and abetting

claims, the Court next addresses whether Plaintiffs have alleged that Defendant Pioneer

provided "substantial assistance" to Defendant Mann. "The third element, substantial

assistance, exists when '(1) a defendant "affirmatively assists, helps conceal, or by virtue of

failing to act when required to do so enables the fraud to proceed"; and (2) "the actions of the

aider/abettor proximately caused the harm on which the primary liability is predicated."'" Gov't

Employees Ins. Co. v. Igor Mayzenberg, No. 17-CV-2802, 2022 U.S. Dist. LEXIS 185865, *30

(E.D.N.Y. Aug. 24, 2022) (quoting In re Agape Litig., 681 F. Supp. 2d 352, 364 (E.D.N.Y.

2010) (quoting Rosner v. Bank of China, No. 06-CV-13562, 2008 U.S. Dist. LEXIS 105984,

2008 WL 5416380, at *5 (S.D.N.Y. Dec. 18, 2008))). "'"But-for" causation is insufficient [for

proximate cause]; aider and abettor liability requires the injury to be a direct or reasonably

foreseeable result of the conduct.'" Id. (quoting Pension Comm. of Univ. of Montreal Pension

Plan v. Banc of Am. Sec., LLC, 446 F. Supp. 2d 163, 201-02 (S.D.N.Y. 2006)).


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        With respect to first element of "substantial assistance" – that the defendant

affirmatively assisted, helped conceal, or failed to act when required to do so – courts have

found that "'[i]naction on the part of the alleged aider and abettor "ordinarily should not be

treated as substantial assistance, except when it was designed intentionally to aid the primary

fraud or it was in conscious and reckless violation of a duty to act."'" Berdeaux v. OneCoin

Ltd., 561 F. Supp. 3d 379, 416 (S.D.N.Y. 2021) (quoting Rosner, 2008 U.S. Dist. LEXIS

105984, 2008 WL 5416380, at *5 (quoting Armstrong v. McAlpin, 699 F.2d 79, 91 (2d Cir.

1983))) (other citation omitted). "Although a bank defendant may provide substantial

assistance by failing to act when it was required to act, '[a]bsent a confidential or fiduciary

relationship between the plaintiff and the aider and abettor, the inaction of the latter does not

constitute substantial assistance warranting aider and abettor liability.'" Id. at 417 (quoting

Ryan [v. Hunton & Williams, No. 99-CV-5938 (JG)], 2000 U.S. Dist. LEXIS 13750, 2000 WL

1375265, at *10 [(E.D.N.Y. Sept. 20, 2000)]). "Put differently, inaction constitutes substantial

assistance for purposes of aiding and abetting liability only when the defendant owes a fiduciary

duty directly to the plaintiff." Id. (citations omitted).

        As stated above, in Magistrate Judge Hummel's Memorandum-Decision and Order, he

found that Plaintiffs had not established Defendant Pioneer's knowledge of the violation.

Nonetheless, he addressed whether Plaintiffs had demonstrated that Defendant Pioneer provided

substantial assistance to the primary violation. See Dkt. No. 197 at 35. With respect to

Defendant Pioneer's alleged inaction, Magistrate Judge Hummel concluded that Defendant

Pioneer did not owe Plaintiffs a fiduciary duty. See id. at 36. This Court agrees. As this Court

previously held in response to Defendant Pioneer's motion to dismiss, the "default rule" that a

"relationship between a bank and a depositor does not create a fiduciary relationship" applies in


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this situation; and, thus, Defendant Pioneer did not owe a fiduciary duty to Southwestern

Payroll. See Dkt. No. 51, Apr. 2020 Order, at 8. Without alleging a fiduciary relationship

between Plaintiffs and Defendant Pioneer, Plaintiffs cannot maintain their allegation that

Defendant Pioneer's inaction or failure to report suspicious activity satisfies the first element to

prove "substantial assistance." Thus, Plaintiffs can only satisfy that element if they have

alleged that Defendant Pioneer affirmatively assisted or helped conceal the fraud.

       With respect to whether a defendant bank affirmatively assisted or helped conceal a

fraud, there is "firmly established Second Circuit precedent" that "[t]he provision of routine

banking services to alleged fraudsters, even if it aids in the commission of the fraud, simply

does not qualify as substantial assistance." Berdeaux, 561 F. Supp. 3d at 416 (footnote

omitted). Stated another way, "'[f]inancial transactions that are not considered "atypical" or

"non-routine" do not constitute substantial assistance.'" Hongying Zhao v. JPMorgan Chase &

Co., No. 17 Civ. 8570 (NRB), 2019 U.S. Dist. LEXIS 40673, *21-*22 (S.D.N.Y. Mar. 13,

2019) (quoting Rosner v. Bank of China, 528 F. Supp. 2d 419, 427 (S.D.N.Y. 2007)). For

example, "'opening accounts and approving transfers, even where there is a suspicion of

fraudulent activity, does not amount to substantial assistance'" as it is typical and routine

banking conduct. Marshall v. Nat'l Bank of Middlebury, No. 5:19-cv-246, 2021 U.S. Dist.

LEXIS 252815, *28 (D. Vt. Dec. 3, 2021) (quoting Agape I, 681 F. Supp. 2d at 365; see Ryan v.

Hunton & Williams, No. 99-CV-5938 (JG), 2000 U.S. Dist. LEXIS 13750, 2000 WL 1375265,

at *9 (E.D.N.Y. Sept. 20, 2000) ("The affirmative acts of opening the accounts, approving

various transfers, and then closing the accounts on the basis of suspected fraud, without more,




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do not constitute substantial assistance.")). Thus, the relevant question is whether Plaintiffs

have alleged that Defendant Pioneer's affirmative conduct was atypical or non-routine. 4

       In answering this question, Magistrate Judge Hummel ruled that the allegations in

Plaintiffs' PACs were "conclusory and not sufficiently atypical" to allege Defendant Pioneer's

direct involvement. See id. at 36-37. This Court respectfully finds that Magistrate Judge

Hummel abused his discretion and clearly erred in coming to this conclusion. After reviewing

Plaintiff's allegations in the light most favorable to them, as the Court must at this stage, the

Court finds that Plaintiffs have supported their allegations that Defendant Pioneer engaged in

more than traditional banking services to assist Defendant Mann in the fraud with various

detailed allegations and exhibits. Generally, Plaintiffs pointed to excerpts from emails and

letters as well as specific allegations of conduct that identify, among other things, Defendant

Pioneer's employees who were involved in approving transfers of the tax funds and the specific

amounts of funds in the tax accounts that were moved as part of the fraud. More specifically,

and as discussed with respect to Plaintiffs' RICO claims, Plaintiffs alleged that Defendant

Pioneer aided in concealing the fraud by intentionally misrepresenting to NACHA in a signed

letter that it had a right of set-off against the 2440 tax account for the owner's debt obligations




4
  In Magistrate Judge Hummel's decision, he phrases this "relevant question" as "whether
[P]laintiffs have sufficiently pleaded that the transactions [Defendant] Pioneer performed were
atypical or routine." See Dkt. No. 197 at 36-37 (citing Berdeaux, 561 F. Supp. 3d at 416 n.35
(citing Berman v. Morgan Keegan & Co., 445 F. App'x 92, 96 (2d Cir. 2012) (summary order)
and Heinert v. Bank of Am., N.A., 410 F. Supp. 3d 544 (W.D.N.Y. 2019) ("[P]laintiffs allege
that the defendant banks 'assisted' the individual defendants by providing banking services,
including making wire transfers, opening accounts, and clearing account holds. Such routine
matters, even where they are performed with 'atypical' frequency, are insufficient to support an
aiding and abetting claim."))) (emphasis added). It appears that this is an error in which
Magistrate Judge Hummel intended to state that Defendant Pioneer's transactions were atypical
or non-routine.

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and that there were no funds available to cover the overdrafts. See Dkt. No. 153-3 at ¶¶ 376-

378; Dkt. No. 155-3 at ¶¶ 392-394. Plaintiffs asserted that this was a misrepresentation because

"the only reason there ultimately were no funds in the 2440 Tax Account was because

[Defendant] Pioneer converted more than $6.845 million to its own account and caused the

transfer of another $6.845 million in funds to other Mann Accounts that were also ultimately

either converted by [Defendant] Pioneer or used to pay down the Valuewise Loan." See Dkt.

No. 153-3 at ¶ 382; Dkt. No. 155-3 at ¶ 398. Plaintiffs allege that Defendant Pioneer caused

these transfers when it paused all outgoing transactions but continued to receive incoming funds

into the tax accounts on an after August 30, 2019. See Dkt. No. 153-3 at ¶ 468; Dkt. No. 155-3

¶ 477. Additionally, as discussed above, Plaintiffs alleged that Defendant Pioneer intentionally

deceived small businesses, not-for-profits, and other employers, by responding to their inquiries

with patently false information, such as that it never provided payroll services, ACH tax wiring

services, tax filing services, or other payroll related services for Cloud Payroll. See Dkt. No.

153-3 at ¶¶ 384-387; Dkt. No. 155-3 at ¶¶ 400-403. Although simply approving transfers and

providing traditional banking services does not constitute "substantial assistance" toward a

fraud, this Court finds that Plaintiffs have met their burden of alleging facts that show that

Defendant Pioneer's conduct was "atypical" or "non-routine" and reverses Magistrate Judge

Hummel's conclusion to the contrary.

       The Court therefore must consider whether Plaintiffs adequately alleged the second

element of "substantial assistance," i.e., that Defendant Pioneer's actions proximately caused

their injuries, and, more generally, whether Plaintiffs suffered damages. With respect to this

element, Magistrate Judge Hummel appeared to conclude that, even if Plaintiffs had alleged

actual knowledge and affirmative assistance, "[P]laintiffs' allegations amount to a 'but for'


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argument," which is insufficient to establish aider and abettor liability. See id. at 37-38 (quoting

Rosner v. Bank of China, No. 06-CV-13562, 2008 WL 5416380, at *5 (S.D.N.Y. Dec. 18,

2008), aff'd, 349 F. App'x 637 (2d Cir. 2009)). For the following reasons, the Court finds that

this conclusion was also clearly erroneous and an abuse of discretion.

       Turning first to Southwestern Payroll, it alleged in its PTAC that it input funds into the

2440 tax account to be sent to taxing authorities; but, instead, Defendant Pioneer transferred

that money to other accounts on September 4, 2019, to pay down Defendant Mann's Valuewise

Loan. See Dkt. No. 153-3 at ¶¶ 388-389. Southwestern Payroll further alleged that, as a direct

result of that transfer, the tax funds were not paid to the taxing authorities, and the taxing

authorities held it and Granite Solutions liable for those funds. See id. The Court finds that it

was reasonably foreseeable that, if Defendant Pioneer transferred and used the funds from a tax

account to pay down the Valuewise Loan, the taxes would not be paid, and Southwestern

Payroll and its employer-clients would continue to be liable to the taxing authorities for those

funds. Thus, the Court finds that Southwestern Payroll's allegations amount to more than a

simple "but-for" argument, and it sufficiently alleged proximate cause to establish Defendant

Pioneer's "substantial assistance" in aiding and abetting fraud and conversion.

       Regarding NatPay, it alleged in its PAC that Defendant Mann "caused ACH instructions

to be sent to NatPay on or about August 29, 2019 to effectuate the transfer of $2,721,815.77

from certain Mann-controlled accounts at [Defendant] Pioneer to the 0212 Client Account,

effective August 30, 2019." See Dkt. No. 155-3 at ¶ 497. On August 29, 2019, based on those

instructions, NatPay alleged that it initiated a debit/withdrawal from those three Mann-

controlled accounts and a credit/deposit to the 0212 Client Account "for the purposes of

transferring $2,721,815.77 from the former accounts to the latter account." See id. at ¶ 499.


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However, Defendant Pioneer selectively rejected some of the ACH transactions, blocking

NatPay from withdrawing money from the Mann-controlled accounts but accepting NatPay's

deposit into the 0212 account. See id. at ¶ 500. As a direct result, NatPay alleges that it lost

nearly $2.7 million from its settlement account, which Defendant Pioneer used to "reduce

[Defendant] Mann's debts to [Defendant] Pioneer and [Defendant] Pioneer's losses." See id. at

¶¶ 500-501. The Court finds that it was reasonably foreseeable that, if Defendant blocked

NatPay's withdrawals from Defendant Mann's accounts but authorized NatPay's deposits into

the 0212 account, that NatPay would have to cover the more than $2.7 million deposited out of

its own funds. The Court thus finds that NatPay's allegations support more than a simple "but-

for" argument and also sufficiently alleged proximate cause to establish Defendant Pioneer's

"substantial assistance" in aiding and abetting fraud and conversion.

       Based on these conclusions, the Court finds that Magistrate Judge Hummel abused his

discretion in denying Plaintiffs' motions for leave to amend their PACs to add claims for aiding

and abetting fraud and conversion. The Court therefore reverses this finding and grants

Plaintiffs' motions for leave to file their PACs accordingly. 5



                                       IV. CONCLUSION

       After carefully considering the entire file in this matter, the parties' submissions, and the

applicable law, and for the above-stated reasons, the Court hereby




5
  Finally, to the extent that Magistrate Judge Hummel found that Plaintiffs' aiding and abetting
conversion claim was "impermissibly duplicative" of their conversion claims, see Dkt. No. 197
at 38, the Court holds that Plaintiffs may plead such claim in the alternative to their conversion
claims pursuant to Rule 8(a)(3) of the Federal Rules of Civil Procedure. See Fed. R. Civ. P.
8(a)(3).

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       ORDERS that Magistrate Judge Hummel's September 12, 2022, Memorandum-

Decision and Order, see Dkt. No. 197, is REVERSED to the extent that it denied Southwestern

Payroll's motion for leave to amend its Second Amended Complaint, see Dkt. No. 153, and

denied in part NatPay's motion for leave to amend its Intervenor Complaint, see Dkt. No. 155;

and the Court further

       ORDERS that Southwestern Payroll's motion for leave to amend its Second Amended

Complaint, see Dkt. No. 153, is GRANTED as set forth herein; 6 and the Court further

       ORDERS that NatPay's motion for leave to amend its Intervenor Complaint, see Dkt.

No. 155, is GRANTED in its entirety; and the Court further

       ORDERS that Plaintiffs must file and serve their amended complaints within fourteen

(14) days of the date of this Memorandum-Decision and Order; and the Court further

       ORDERS that this case is referred to Magistrate Judge Hummel for all further pretrial

matters.


IT IS SO ORDERED.


Dated: April 10, 2023
       Syracuse, New York




6
 As discussed in this Memorandum-Decision and Order, Southwestern Payroll may amend its
SAC to include causes of action for simple negligence, RICO violations, and aiding and
abetting fraud and conversion, as well as all factual allegations that further support those and its
other previously alleged claims. However, Southwestern Payroll shall not include a cause of
action for unjust enrichment in its Third Amended Complaint as Magistrate Judge Hummel did
not address that claim in his Memorandum-Decision and Order, and neither Plaintiff raised it as
an issue on appeal.
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